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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.

                 Plaintiffs,

                          v.
                                                      Civil Action No.18-1551 (ESH)
  UNITED STATES DEPARTMENT OF
  THE ARMY, et al.,

                 Defendants.



                               DEFENDANTS’ STATUS REPORT

       In accordance with the Court’s August 13, 2018, Order, Defendants respectfully submit

the following status report incorporating herein the attached declaration of Mr. Lin St. Clair,

Assistant Deputy for Recruiting, Office of the Assistant Secretary of the Army (Manpower &

Reserve Affairs).

       1. The Court ordered Defendants to file a report regarding: (1) The status of the Army’s

policy relating to administrative separation procedures applicable to members of the Delayed

Entry Program (DEP) and Delayed Training Program (DTP), including but not limited to any

updates that resulted from Marshall Williams’ July 20, 2018 memorandum (ECF No. 22-1 at Ex.

A); (2) The number of MAVNIs who received a discharge order from the U.S. Army Recruiting

Command (USAREC) and/or U.S. Army Reserve Command (USARC) and whose discharge

order(s) have been revoked and/or whose involuntary separation is under review as a result of the

July 20, 2018 memorandum; and (3) The Army’s timeline for implementation of any new

policy, as well as the expected time when discharge or involuntary separation proceedings will

be initiated against any DEP or DTP member in accordance with this policy.
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       2. The reporting requirements set out in paragraph 1 above are addressed in the attached

declaration of Mr. St. Clair.

Dated: August 20, 2018                      Respectfully submitted,

                                            JESSIE K. LIU
                                            D.C. Bar # 472845
                                            United States Attorney

                                            DANIEL F. VAN HORN
                                            D.C. Bar # 924092
                                            Chief, Civil Division


                                    By:            /s/________________________
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